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IN THE U.S. DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Joseph Cilione, et al. *

Plaintiffs *
v. * Case No. RDB 19-cv-00627
Victoria’s Crab House, Inc., et al. *

Defendants *

/
SUPPLEMENTAL JUDGMENT ORDER

Pending before the Court is the Parties’ Joint Motion for Approval of Settlement
Agreement And Consent To Supplement Judgment Order (“Joint Motion’). After careful
consideration and review of the Parties’ Joint Motion and the Settlement Agreement and Release
of Claims (“Settlement Agreement”), it is hereby:

ORDERED, that the Settlement Agreement is APPROVED as fair and reasonable;

FURTHER ORDERED, that the Parties’ Joint Motion is GRANTED;

FURTHER ORDERED, a Supplemental Judgment shall be, and hereby is, entered in
favor of Plaintiffs against Defendants for costs, including attorneys’ fees, in the amount of
$21,500.00;

FURTHER ORDERED, the Judgments of October 4, 2019 (ECF Doc. 28) remains in full
force and effect.

SO ORDERED.

Date:

 

Hon. Richard D. Bennett
United States District Judge

All counsel (via ECF)

 

 
